              Case 1:23-cv-00086-N/A Document 1                         Filed 04/21/23          Page 1 of 3Form 1-1

UNITED STATES COURT OF INTERNATIONAL TRADE                                                      FORM 1
  Safran Electronics and Defense, Avionics
  USA LLC
                          Plaintiff,                                           SUMMONS
          v.                                                                   Court No. 23-00086

  UNITED STATES,
                                      Defendant.

TO:       The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                       /s/ Mario Toscano
                                                       Clerk of the Court


                                                       PROTEST
 Port(s) of    Federal Express ECCF, Newark, New Jersey (4671)   Center (if known):
 Entry:
 Protest       4671-21-100822                                    Date Protest Filed:    September 2, 2021
 Number:
 Importer:     75-2267859TX                                      Date Protest Denied:
                                                                                        October 31, 2022
 Category of      Electric Motor
 Merchandise:

                              ENTRIES INVOLVED IN ABOVE PROTEST
       Entry               Date of             Date of               Entry                Date of          Date of
      Number                Entry            Liquidation            Number                 Entry         Liquidation
799-76713865          06/17/2020           05/14/2021




                                                                    Adrienne Braumiller
                                                                    5220 Spring Valley Road, Suite 220
                                                                    Dallas, TX 75254
                                                                    214-348-9306
                                                                    Adrienne@Braumillerlaw.com

                                                                   Name, Address, Telephone Number
                                                                   and E-mail Address of Plaintiff's Attorney
            Case 1:23-cv-00086-N/A Document 1                         Filed 04/21/23           Page 2 of 3Form 1-2

                            CONTESTED ADMINISTRATIVE DECISION
                                       Appraised Value of Merchandise
                                            Statutory Basis                              Statement of Value

  Appraised:




  Protest Claim:


                                        Classification, Rate or Amount
                                            Assessed                                     Protest Claim

     Merchandise          Tariff Classification            Rate             Tariff Classification                 Rate

 Electric Motor          8501.31.4000                   4%                 8501.10.6040                       2.8%




                                              Other
  State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:


  The issue which was common to all such denied protests:
   N/A

Every denied protest included in this civil action was filed by the same above-named importer, or person authorized under
19 U.S.C. § 1514(c)(2). The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid.
                                                                                    Digitally signed by Adrienne Braumiller
                                              Adrienne Braumiller Date: 2023.04.21 15:01:02 -05'00'
                                              ______________________________________________
                                                                  Signature of Plaintiff's Attorney
                                              April 21, 2023
                                              __________________________________________________________
                                                                   Date
                  Case 1:23-cv-00086-N/A Document 1             Filed 04/21/23     Page 3 of 3Form 1-3


                                          SCHEDULE OF PROTESTS

       _________________________
       Center (if known)


 Protest               Date Protest   Date Protest   Entry              Date of         Date of         Port
 Number                Filed          Denied         Number             Entry           Liquidation     Code




(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017; June 22, 2021, eff. July 26, 2021.)
